        Case 4:13-cr-00148-SWW Document 233 Filed 12/20/13 Page 1 of 3



                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                         )                     PLAINTIFF
                                                  )
V.                                             ) CASE NO. 4:13CR00148-03 SWW
                                               )
EMMANUEL ILO, et al                              )                   DEFENDANT

 MOTION TO WITHDRAW AND BE RELIEVED AS COUNSEL AS TO DEFENDANT

                                        EMMANUEL ILO

       Comes now the undersigned and moves the court to withdraw as counsel in the above

styled matter, as to Defendant Emmanuel Ilo, and as the basis for said motion states:

1.     That the undersigned is an attorney of record in the above styled matter for Defendant

 Emmanuel Ilo.

2.     That this matter is set for jury trial on February 24, 2014.

3.     That during the course of representation of the Defendant, a personal conflict has arisen

 which has impaired the ability of the undersigned to continue representation of the Defendant.

4.     Counsel and Defendant have reached an impasse with respect to the merits, objectives,

 defenses and course of litigation pending before this Court.

5.     That it appears that the client is unwilling to defer to the professional judgment of the

 undersigned as to the tactics and strategies that are to be employed in his representation and as

 such will impair the ability of the undersigned to effectively represent the client.

6.     That in addition, the Defendant has failed to honor his contractual obligations.

7.     That the conflicts referred to herein are genuine and irreconcilable.

8.     That the Defendant has been informed of the intentions of the undersigned to file this

Motion to Withdraw in this matter and his need to employ separate and new Counsel should this


                                                  1
          Case 4:13-cr-00148-SWW Document 233 Filed 12/20/13 Page 2 of 3



Honorable Court grant this motion.

9.      That if this motion is granted, relevant files and pleadings will be made available to the

Defendant, or his newly retained counsel in order that prejudice will not inure to the Defendant.

10.     That this motion is not made for the purpose of delay, but is in the best interest of justice

and consistent with the Rules Governing Professional Conduct and Responsibility of Attorneys.

11.     That no injury will result by the granting of this motion to withdraw to Defendant in this

action, or to the United States Attorney.

12.     That the foregoing recitation of the deteriorating relationship of the undersigned and her

client which impairs her ability to represent said client is good cause for the granting of this

motion.

13.     That a copy of this motion is being served upon the Defendant.

        WHEREFORE, the undersigned prays that this motion be granted and that she be

relieved of any further responsibilities relating to this case and for all other proper and just relief.




                                                        /s/Teresa Bloodman #2005055
                                                        Attorney for Defendant Emmanuel Ilo
                                                        P.O. Box 13641
                                                        Maumelle, AR 72113
                                                        (501) 373-8223 Office
                                                        teresbloodman@yahoo.com




                                                   2
       Case 4:13-cr-00148-SWW Document 233 Filed 12/20/13 Page 3 of 3




                          CERTIFICATE OF SERVICE

        I, Teresa Bloodman, do hereby certify that a true and correct copy of the
foregoing pleading was electronically filed, this 20th day of December, 2013, with
the Clerk of Court using the CM/ECF System, which will send notification of such
filing to:


Mr. Michael Gordon
United States Attorney’s Office
Eastern District of Arkansas
435 West Capitol, Suite 400
Little Rock, AR 72201
michael.gordon@usdoj.gov



                                            /s/Teresa Bloodman




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